USCA Case #23-5109        Document #2020712              Filed: 10/06/2023       Page 1 of 1


                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 23-5109                                                September Term, 2023
                                                                      1:19-cv-01746-JEB
                                                  Filed On: October 6, 2023 [2020712]
Mahtab Arsanjani,

              Appellant

      v.

United States of America and District of
Columbia,

              Appellees

                                        ORDER

      Upon consideration of the consent motion for extension of time to file replies in
support of the motions for summary affirmance, it is

      ORDERED that the motion for extension of time be granted. Appellees’ replies
are now due November 13, 2023.


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Catherine J. Lavender
                                                         Deputy Clerk
